  Case 19-10509-amc        Doc 56     Filed 11/14/19 Entered 11/14/19 17:43:46             Desc
                                          Page 1 of 4




                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


In re: SUSAN WOOLBERT                        §       Case No. 19-bk-10509
                                             §
                                             §
             Debtor(s)                       §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


William C Miller, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 01/29/2019.

       2) The plan was confirmed on NA.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on NA.

       5) The case was dismissed on 08/20/2019.

       6) Number of months from filing or conversion to last payment: 6.

       7) Number of months case was pending: 9.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $8,812.19.

       10) Amount of unsecured claims discharged without full payment: $0.00.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




UST Form 101-13-FR-S (9/1/2009)
  Case 19-10509-amc        Doc 56     Filed 11/14/19 Entered 11/14/19 17:43:46       Desc
                                          Page 2 of 4




Receipts:
      Total paid by or on behalf of the debtor(s)           $ 5,889.00
      Less amount refunded to debtor(s)                       $ 661.44
NET RECEIPTS                                                                  $ 5,227.56



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                $ 4,780.00
       Court Costs                                               $ 0.00
       Trustee Expenses & Compensation                        $ 447.56
       Other                                                     $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                              $ 5,227.56

Attorney fees paid and disclosed by debtor(s):              $ 2,350.00



Scheduled Creditors:
Creditor                                       Claim      Claim       Claim   Principal     Interest
Name                               Class    Scheduled   Asserted    Allowed       Paid         Paid
ANTHONY A FRIGO ESQ                Lgl           0.00       NA          NA    4,780.00         0.00




UST Form 101-13-FR-S (9/1/2009)
  Case 19-10509-amc        Doc 56    Filed 11/14/19 Entered 11/14/19 17:43:46   Desc
                                         Page 3 of 4




Summary of Disbursements to Creditors:

                                             Claim             Principal         Interest
                                             Allowed           Paid              Paid
Secured Payments:
      Mortgage Ongoing                            $ 0.00           $ 0.00              $ 0.00
      Mortgage Arrearage                          $ 0.00           $ 0.00              $ 0.00
      Debt Secured by Vehicle                     $ 0.00           $ 0.00              $ 0.00
      All Other Secured                           $ 0.00           $ 0.00              $ 0.00
TOTAL SECURED:                                    $ 0.00           $ 0.00              $ 0.00

Priority Unsecured Payments:
        Domestic Support Arrearage                $ 0.00           $ 0.00              $ 0.00
        Domestic Support Ongoing                  $ 0.00           $ 0.00              $ 0.00
        All Other Priority                        $ 0.00           $ 0.00              $ 0.00
TOTAL PRIORITY:                                   $ 0.00           $ 0.00              $ 0.00

GENERAL UNSECURED PAYMENTS:                       $ 0.00           $ 0.00              $ 0.00



Disbursements:

       Expenses of Administration             $ 5,227.56
       Disbursements to Creditors                  $ 0.00

TOTAL DISBURSEMENTS:                                           $ 5,227.56




UST Form 101-13-FR-S (9/1/2009)
  Case 19-10509-amc          Doc 56      Filed 11/14/19 Entered 11/14/19 17:43:46               Desc
                                             Page 4 of 4




        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 11/14/2019                        By: William C. Miller
                                             Chapter 13 Standing Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
